                       IN THE UNITED STATES DISTRJCT COURT
                   FOR THE EASTERN DISTRJCT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                      No. 7:21-CV-00196-M

 E. DWIGHT AND                                    )
 SYLVIA JOHNSON,                                  )
                                                  )
                Plaintiffs,                       )
                                                  )                      ORDER
        V.                                        )
                                                  )
 TIMOTHY FUSSELL,                                 )
                                                  )
                Defendant.                        )

        This matter comes before the court on Defendant's pro se "Response in Opposition to

Plaintiff's Motion for Default Judgment and Motion to Dismiss Plaintiffs Case" [DE 45].

Defendant argues that dismissal is warranted because he did not owe Plaintiffs a fiduciary duty

and because their Complaint "is devoid of any substantive legal or factual basis." DE 41 at 1-3 .

The court considered similar arguments from Defendant over two years ago when he (through

counsel) filed a motion to dismiss. DE 13 . The court granted in part and denied in part that prior

motion, and specifically found that the Complaint did "not plausibly state a fiduciary relationship

between" Plaintiffs and Defendant. DE 22 at 14. Accordingly, Defendant's renewed motion to

dismiss is largely moot and provides no basis to dismiss Plaintiffs' remaining pending claims. The

motion [DE 45] is therefore DENIED.

       Defendant must now file an answer to Plaintiffs Complaint within 14 days. Fed. R. Civ.

P. 12(a)(4)(A). Defendant is advised that his filing must conform to the Federal Rules of Civil

Procedure and this court's Local Rules. See Ballard v. Carlson, 882 F.2d 93 , 96 (4th Cir. 1989)

(emphasizing that pro se "litigants are subject to the time requirements and respect for court orders

without which effective judicial administration would be impossible"). Failure to file an answer



         Case 7:21-cv-00196-M         Document 48        Filed 04/08/25      Page 1 of 2
will subject Defendant to entry of default, both by operation of the Federal Rules and as a sanction

for noncompliance with this order. If Defendant timely files an answer, Plaintiffs may elect to

proceed with discovery or seek summary judgment.



   SO ORDERED this         -,,ft; day of April, 2025.




                                              RICHARD E. MYERS II
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                                 2

        Case 7:21-cv-00196-M          Document 48        Filed 04/08/25      Page 2 of 2
